           Case 1:23-cv-00036-SPB Document 47 Filed 08/15/24 Page 1 of 4




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF PENNSYLVANIA
                                ERIE DIVISION
                                             :
                                             :
 RANDY J. SPENCER,                           : Docket No. 1:23-cv-00036-SPB
     Plaintiff                               :
                                             : Electronically Filed
 v.                                          :
                                             :
                                             :
 MATT MCSPARREN, BOB BETZOLD,                :
 FRED BUCKHOLTZ, and REGINA                  :
 DELOE, ERIC HEIL, and TOWNSHIP              :
 OF CRANBERRY                                : JURY TRIAL DEMANDED
       Defendants


                          MOTION TO COMPEL DISCOVERY

      NOW COMES the Plaintiff, Randy J. Spencer, by counsel, and respectfully moves

this Honorable Court for an Order compelling more specific discovery responses,

respectfully representing:

      1.       On November 22, 2023, Plaintiff served a First Request for Production of

Documents (with comprehensive instructions) on Defendant Township of Cranberry. A

copy of the Request for the Production of Documents is attached as Exhibit A.

      2.       In responding to the Request for Production of Documents, the Defendant

made numerous boilerplate and nonspecific objections. A ccopy of the Responses is

attached hereto as Exhibit B.

      3.       As to each Request, the Defendant objected on the grounds that the

Request was “vague, ambiguous, overbroad, unduly burdensome, seeks information that

is not relevant to any claim or defense, and seeks information that is not proportional to

the needs of the case.” In none of the Responses to the Request for Production does
            Case 1:23-cv-00036-SPB Document 47 Filed 08/15/24 Page 2 of 4




Defendant specify the manner in which each discrete Request is all or any of those bad

things nor does Defendant suggest any way to remedy the situation.

       4.       With regard to Request No. 1, the Defendant objects on the grounds that

“Plaintiff makes no claim related to the Township’s “zoning ordinance.”

       5.       A review of the Amended Complaint in this matter makes it clear that

Plaintiff is claiming a violation of his right to equal protection of the laws in that the

Township has pursued him for the maximum penalties available under the zoning

ordinance, whereas it has permitted other entities to continue noncompliance with no

action. This objection is not well taken and should be overruled.

       6.       Requests Nos. 2, 3, 4, 5, 6, 7, 8, 9, and 10 all contain an objection that the

request “seeks to invade the attorney-client privilege or the attorney work-product

privilege.” To the extent that the Defendant objects to providing responsive documents

on that basis, it must to produce a privilege log identifying the documents being

withheld.

       7.       In its response to Request No. 5, the Defendant objects that “Plaintiff’s

request for “all documents” is vague and overly broad.” The term “all documents” is

hardly vague nor is it overbroad since the request relates to specific actions of the

Township, involving the Township’s investigation of the ownership of vehicles on the

Heath property on or near Deep Hollow Road. This objection is not well taken, and

Defendant should be ordered to provide all responsive documents or a privilege log as to

any specific document being withheld.

       8.       With regard to Requests 8 and 9, the Defendant objects that “the term

“junk yard” as used in Request for Production Number 8 is not defined by Plaintiff.” The
             Case 1:23-cv-00036-SPB Document 47 Filed 08/15/24 Page 3 of 4




Township has defined junk yard in its zoning ordinance. For the Township to argue that

it does not know what a “junk yard” is is not a well taken objection and should be

overruled. Defendant should be ordered to provide all responsive documents.

        9.       With regard to Plaintiff’s Request No. 10, the Township objected to

production of documents on both attorney-client privilege and/or the attorney work-

product privilege (addressed above) and the grounds that it “seeks the production of

documents that are likely in Plaintiff’s possession.” Since the Request was for

documents in Defendant's possession, this objection is not well taken. To the extent that

the Defendant knows the documents are in Plaintiff’s possession, it can identify and list

them.

        10.      In Response to the Request for Production, Defendant produced 678

disorganized pages of documents with no indication as to which request the documents

were related, nor does Defendant in its response identify by Bates number the

documents it considers responsive to the Request. This renders the Response all but

useless, since it is impossible to find any particular document without perusing the

entire 678 pages.

        WHEREFORE, Plaintiff respectfully requests this Honorable Court to enter an

appropriate Order.



                                   (Signature Page Follows)
Case 1:23-cv-00036-SPB Document 47 Filed 08/15/24 Page 4 of 4




                           Respectfully submitted,
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